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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
__________________________________________________
                                                   )
PACIFIC MARITIME ASSOCIATION,                      )
                                                   )
                              Plaintiff,           )
  v.                                               ) Case No. 12-cv-01477 BAH
                                                   )
NATIONAL LABOR RELATIONS BOARD,                    )
                                                   )
                              Defendant.           )
__________________________________________________)

   NATIONAL LABOR RELATIONS BOARD’S MEMORANDUM OF POINTS AND
                    AUTHORITIES IN SUPPORT OF
              MOTION TO DISMISS AND IN OPPOSITION TO
            PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

       The Pacific Maritime Association (“PMA”) has moved for summary judgment in this

extraordinary case, which seeks immediate judicial review of an interlocutory administrative

ruling made by the National Labor Relations Board (“NLRB” or “the Board”). But there is a

fatal defect to PMA’s complaint: the text of the National Labor Relations Act (“NLRA” or “the

Act”) and over seventy years of precedent confirm that this Court lacks subject-matter

jurisdiction. As a result, PMA’s motion must be denied, and this case must be dismissed under

Federal Rule of Civil Procedure 12(b)(1).
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                                              FACTS 1

         ICTSI Oregon, Inc. (“ICTSI”) is the operator of Terminal 6 in the Port of Portland, which

is the site of an ongoing labor dispute. On May 10, 2012, ICTSI filed an unfair labor practice

charge with the Board’s Region 19 office in Seattle, Washington against International

Brotherhood of Electrical Workers (“IBEW”) Local 48. The charge alleges, among other things,

that IBEW Local 48 violated Section 8(b)(4)(D) of the Act by threatening and/or coercing ICTSI

with the object of forcing or requiring ICTSI to assign the work of plugging, unplugging, and

monitoring refrigerated containers at Terminal 6 to employees represented by IBEW Local 48,

rather than to employees represented by International Longshore and Warehouse Union

(“ILWU”) Local 8 (NLRB Case No. 19-CD-080738). 2 In response, the Board’s Regional

Director issued a notice of hearing pursuant to Section 10(k) of the NLRA, which requires the

Board to determine such work “jurisdictional disputes” upon the filing of a charge alleging a

violation of Section 8(b)(4)(D). 3



1
 Most of the facts stated herein are taken from the Board’s decision in IBEW, Local 48 and
ICTSI Oregon, Inc., 358 NLRB No. 102, 2012 WL 3306478 (Aug. 13, 2012), as well as
Plaintiff’s Complaint. To the extent the Board has relied on additional facts, Rule 12(b)(1)
permits the Court to consider material outside the complaint to help determine whether or not it
has jurisdiction. Haase v. Sessions, 835 F.2d 902, 906 (D.C. Cir. 1987); McCarthy v. United
States, 850 F. 2d 558, 560 (9th Cir. 1988). Because the Board is filing a Motion to Dismiss for
Lack of Jurisdiction concurrently with its Opposition to Plaintiff PMA’s Motion for Summary
Judgment, the Court must take as true the facts stated in Plaintiff’s Complaint.
2
  ILWU Local 8 had filed several grievances against ICTSI seeking lost time payments because,
in ILWU’s view, ICTSI, as a PMA member, had violated the collective bargaining agreement
between PMA and ILWU by assigning the disputed work to the IBEW. These grievances
precipitated IBEW Local 48’s threats to ICTSI, and those threats, in turn, served as the basis of
ICTSI’s unfair labor practice charge.
3
    Section 10(k), 29 U.S.C. § 160(k), provides:

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          In May 2012, the administrative Section 10(k) hearing was held over four days before a

Board hearing officer in Portland, and in June, the Hearing Officer’s Report on the 10(k) hearing,

along with the record, was submitted to the Board for decision. The issues considered by the

Board included: (1) whether there existed reasonable cause to believe that IBEW Local 48

violated Section 8(b)(4)(D) of the NLRA by threatening to picket or engage in other economic

action at ICTSI’s work site for the object of forcing or requiring the assignment of certain work

to IBEW members, thus bringing the matter within the scope of Section 10(k) of the NLRA, and

(2) if such dispute existed, and in the event no alternative dispute resolution binds all the parties,

to whom the disputed work should be assigned (taking into account such factors as employer

preference, efficiency, and area standards). PMA had filed a motion to intervene in the Section

10(k) hearing, which was denied. PMA’s subsequent attempts to request special permission to

appeal to the Board and to move for reconsideration were denied by the Board, noting that the

record already adequately presented both the issues that PMA sought to argue and the positions

of the parties on them. 358 N.L.R.B. No. 102, 2012 WL 3306478 (Aug. 13, 2012).

          On August 13, 2012, 4 the Board issued a Section 10(k) Decision and Determination of

Dispute, 2012 WL 3306478 (Aug. 13, 2012) (“Section 10(k) Decision”), determining that the




        Whenever it is charged that any person has engaged in an unfair labor practice within
        the meaning of paragraph 4(D) of section 8(b), the Board is empowered and directed
        to hear and determine the dispute out of which such unfair labor practice shall have
        arisen, unless, within ten days after notice that such charge has been filed, the parties
        to such dispute submit to the Board satisfactory evidence that they have adjusted, or
        agreed upon methods for the voluntary adjustment of, the dispute. Upon compliance
        by the parties to the dispute with the decision of the Board or upon such voluntary
        adjustment of the dispute, such charge shall be dismissed.
4
    All dates herein refer to 2012.

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ILWU-represented employees were not entitled to perform the disputed work, and instead

awarding the work to employees represented by IBEW Local 48. 5

       Meanwhile, on June 5 and August 17 respectively, ICTSI filed additional unfair labor

practice charges — alleging that ILWU Local 8 violated Section 8(b)(4)(D) by engaging in

unlawful threats and coercion for an improper purpose during the time periods both before and

after the Section 10(k) Decision issued (NLRB Case Nos. 19-CD-082461 and 19-CD-087505). 6

Based on these charges and on ILWU’s refusal to abide by the Board’s August 13 Section 10(k)

Decision, the Board’s Regional Director for Region 19 issued a Consolidated Complaint against

ILWU, and a hearing on that complaint was held before an administrative law judge starting on

July 24 and concluding on August 29. That the Board had jurisdiction to issue the Section 10(k)

Decision is an essential element of the alleged Section 8(b)(4)(D) violation. Accordingly, in its

Answer to the General Counsel’s administrative complaint and in its brief to the administrative

law judge, ILWU asserts that the Port of Portland is a public entity and thus, this dispute is

outside of the jurisdiction of the Board. See Anzalone Decl. Exhs. 2, 3. This same argument is

now repeated by PMA in this lawsuit. Yet, although agents of PMA were actually present for at

least part of the administrative hearing against ILWU, PMA has made no attempt to intervene in




5
 The same argument that PMA wanted to advance before the Board was argued by ILWU in the
Section 10(k) proceeding, and considered and rejected by the Board. 358 N.L.R.B. No. 102 at 3
(Aug. 13, 2012).
6
 In addition, ICTSI filed charges alleging that ILWU Local 8 had violated Section 8(b)(4)(B) by
using proscribed means to enmesh neutral entities into the labor dispute (NLRB Case Nos. 19-
CC-082533 and 19-CC-087504). The Port of Portland filed a similar charge against ILWU
Local 8 (NLRB Case No. 19-CC-082744).

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that unfair labor practice case, which is currently before an administrative law judge for

decision. 7

        Instead, PMA filed the instant suit in this Court. In view of several related proceedings

already pending in the District of Oregon involving the same parties and the same dispute, the

Board filed a motion to transfer venue, seeking to have this Court transfer this case to the District

of Oregon (Dkt. Nos. 12, 17), which PMA has opposed (Dkt. No. 15). As set forth below,

should this Court deny the Board’s motion to transfer, it should dismiss the Complaint.

                                          ARGUMENT

        “A federal court presumptively lacks jurisdiction in a proceeding until a party

demonstrates that jurisdiction exists.” Commodity Futures Trading Comm’n v. Nahas, 738 F.2d

487, 492 n. 4 (D.C. Cir. 1984). As the plaintiff in this action, PMA “bears the burden of

establishing that the court has subject-matter jurisdiction.” Adams v. United States Capitol

Police Bd., 564 F. Supp. 2d 37, 40 (D.D.C. 2008). For the reasons set forth below, PMA cannot

carry its burden, and the Court must therefore deny Plaintiff’s Motion for Summary Judgment

and dismiss the case.




7
  See Anzalone Decl., Exh. 1 (excerpt of testimony of PMA in-house counsel Todd C. Amidon
(Tr. 1280-88); excerpt of testimony of Richard Marzano, PMA Coast Director of Contract
Administration & Arbitration (Tr. 1949-59)). Because these PMA agents actually attended and
testified during the unfair labor practice hearing, PMA was obviously, at that time, well aware of
the proceeding, even assuming the truth of their assertion that it “did not receive any notice from
the NLRB” regarding the unfair labor practice proceeding. Dkt. 14-2, ¶ 23. For the reasons
explained below (pp. 14-15), in any event, whether or not PMA participates as a party in the
proceeding, if it is aggrieved by an adverse final Board decision, it will be able to petition the
Circuit for review under Section 10(f) of the NLRA. 29 U.S.C. § 160(f) (permitting “any person
aggrieved by a final order of the Board” to petition for review).

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I.     The National Labor Relations Act Does Not Supply Jurisdiction to Directly Review
       Section 10(k) Work Assignment Determinations

       The jurisdiction of this Court is limited, extending “only over such matters as are

committed to it by statute.” Belhas v. Ya’alon, 515 F.3d 1279, 1283 (D.C. Cir. 2008). Sections

10(e) and (f) of the National Labor Relations Act (“the Act”) provide the exclusive means for

securing judicial review of Board rulings in its administrative cases. Pursuant to those

provisions, the Board’s rulings are subject to review only upon the issuance of a final Board

order at the conclusion of an unfair labor practice proceeding, and only in an appropriate United

States Court of Appeals. See 29 U.S.C. § 160(e), (f). The statute simply leaves no room for

“over-the-shoulder supervision . . . [by] District Courts who, for that matter, have a very very

minor role to play in this statutory structure.” Bokat v. Tidewater Equip. Co., 363 F.2d 667, 673

(5th Cir. 1966) (noting that the Act grants district courts jurisdiction only to consider Board

requests for either temporary injunctive relief (29 U.S.C. §§ 160(j), (l)) or enforcement of

administrative subpoenas (29 U.S.C. § 161)).

       The Supreme Court’s decision in Myers v. Bethlehem Shipbuilding Corp., 303 U.S. 41

(1938), underscores the preclusive effect that Section 10(e) and (f) have on efforts to enmesh

district courts in disputes over pending unfair labor practice cases. In Myers, the Court

unanimously rejected the argument that district courts have the power to consider jurisdictional

challenges to pending unfair labor practice matters. Relying on Congress’s clear desire to

channel judicial review of unfair labor practice cases directly to the courts of appeals after the

Board issues a final order in an unfair labor practice proceeding, the Court held that “[t]he

District Court is without jurisdiction . . . because the power ‘to prevent any person from




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engaging in any unfair labor practice affecting commerce’ has been vested by Congress in the

Board and the Circuit Court of Appeals.” Id. at 48 (quoting 29 U.S.C. § 160(a)).

       “Since Myers the courts have, without exception, ruled that . . . interlocutory rulings of

the Board in the course of such [unfair labor practice] proceedings may not be considered by

federal District Courts.” United Aircraft Corp. v. McCulloch, 365 F.2d 960, 961 (D.C. Cir.

1966). Both this Court and the D.C. Circuit are counted among them. For example, in United

Aircraft, this Court dismissed for lack of jurisdiction a suit brought to “restrain the members of

the National Labor Relations Board in their conduct of an unfair labor practice case.” Id. at 960.

More specifically, the plaintiff had “sought the withdrawal of a[n interlocutory] Board order,” id.

at 961, while the unfair labor practice case was “still pending before the Board . . . .” Id. at 960.

Relying on Myers, the D.C. Circuit straightforwardly affirmed: “It seems to us that a mere

statement of the relief sought is sufficient to demonstrate want of jurisdiction in the District

Court to proceed.” Id. at 961.

       Likewise, courts outside this circuit have repeatedly rejected similar pleas to allow

district courts to supervise or otherwise review rulings made during the course of unfair labor

practice proceedings. 8 See, e.g., J.P. Stevens Employees Educ. Comm. v. NLRB, 582 F.2d 326,

328-29 (4th Cir. 1978) (affirming district court’s conclusion that it lacked jurisdiction to review

NLRB’s refusal to allow the plaintiff to intervene in a pending unfair labor practice case); Bokat

v. Tidewater Equip. Co., 363 F.2d 363 F.2d 667, 671 (5th Cir. 1966) (“[A]ny effort by the

Federal District Courts to review or supervise unfair labor practice proceedings prior to the

issuance of the Board’s final order ‘is at war with the long-settled rule of judicial administration

8
  As we show below, in the context of this ongoing unfair labor practice proceeding, PMA errs
in relying upon the very narrow exception established in Leedom v. Kyne, 358 U.S. 184 (1958),
for district court review of an NLRB representation proceeding in extraordinary circumstances.
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that no one is entitled to judicial relief for a supposed or threatened injury until the prescribed

administrative remedy has been exhausted’”) (quoting Myers, 303 U.S. at 50-51).

       The Board’s special authority under Section 10(k) to award disputed work arises only

after an unfair labor practice charge alleging a violation of Section 8(b)(4)(D) has been filed. In

other words, the Section 10(k) proceeding and the Section 8(b)(4)(D) case “are interlocked.”

NLRB v. Plasterers’ Local Union No. 79, 404 U.S. 116, 123 (1971). As the Supreme Court has

explained,

       Section 8(b)(4)(D) makes it an unfair labor practice for a labor organization to
       strike or threaten or coerce an employer or other person in order to force or
       require an employer to assign particular work to one group of employees rather
       than to another . . . . When a § 8(b)(4)(D) charge is filed and there is reasonable
       cause to believe that an unfair labor practice has been committed, issuance of the
       complaint is withheld until the provisions of § 10(k) have been satisfied. That
       section directs the Board to “hear and determine” the dispute out of which the
       alleged unfair labor practice arose; the Board is required to decide which union or
       group of employees is entitled to the disputed work in accordance with
       acceptable, Board-developed standards, unless the parties to the underlying
       dispute settle the case or agree upon a method for settlement. Whether the
       § 8(b)(4)(D) charge will be sustained or dismissed is thus dependent on the
       outcome of the § 10(k) proceeding.

Id. at 123-24.

       Accordingly, Section 10(k) decisions are “interlocutory in nature.” The Developing

Labor Law 2082 (John E. Higgins, Jr., ed., 6th ed. 2012); accord Henderson v. ILWU Local 50,

457 F.2d 572, 577 (9th Cir. 1972) (“[T]he section 10(k) award is an interlocutory order

reviewable only in the course of review of any subsequent final [unfair labor practice] order

under section 8(b)(4)(D).”); Int’l Ass’n of Bridge, Structural & Ornamental Ironworkers, Local

No. 395 v. Lake County, Indiana Council of the United Bhd. of Carpenters, 347 F. Supp. 1377

(N.D. Ind. 1972) (noting that a Section 10(k) award “is only an interlocutory order”). “A § 10(k)

proceeding is a comparative proceeding aimed at determining which union is entitled to perform

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certain tasks.” Plasterers’ Local Union No. 79, 404 U.S. at 135. “But the § 10(k) decision

standing alone, binds no one.” Id. at 126. Rather, in NLRB proceedings, “the impact of the

§ 10(k) decision is felt in the [subsequent] § 8(b)(4)(D) hearing.” Id.

       Consistent with Myers, United Aircraft, and the text of the statute, courts have repeatedly

held that, under the NLRA, interlocutory Section 10(k) determinations made by the Board during

the course of Section 8(b)(4)(D) unfair labor practice proceedings are not judicially reviewable.

See, e.g., Foley-Wismer & Becker v. NLRB, 682 F.2d 770, 773 (9th Cir. 1982) (limited en banc)

(“[T]o allow appeals to be taken from § 10(k) awards would involve the courts in a direct

interference with the normal operation of the § 8(b)(4)(D) machinery.”); id. at 776 (dissenting

opinion) (“[I]t is well established that an employer has no avenue of review from an adverse

section 10(k) award.”); NLRB v. ILWU, 378 F.2d 33, 35 (9th Cir. 1967) (“[T]here is no

independent review of a Section 10(k) work assignment dispute . . . .”); NLRB v. Local 991, Int’l

Longshoremen’s Ass’n, 332 F.2d 66, 71 (5th Cir. 1964) (same).

       Indeed, no one knows this better than PMA. In NLRB v. ILWU Local No. 50, 504 F.2d

1209, 1212 n.1 (9th Cir. 1974), “PMA urge[d the Ninth Circuit] to hold that § 10(k) decisions

are directly reviewable.” The Court of Appeals flatly refused to do so. Id. (“Twice before we

have rejected this suggestion on the ground that no final order results from a § 10(k) hearing. . . .

The decisions of this court in Waterway Terminals Co. v. NLRB, 9 Cir., 1972, 467 F.2d 1011,

and of the Supreme Court in NLRB v. Plasterers' Union, supra, only serve to reinforce our

holding that § 10(k) decisions are not directly reviewable.”). Moreover, in Henderson v. ILWU

Local 50, 457 F.2d 572, 577 (9th Cir. 1972), PMA petitioned the Ninth Circuit for review of the

Board’s refusal to stay a Section 10(k) determination. Relying on the “interlocutory” nature of a

Section 10(k) award, the court dismissed PMA’s petition for lack of jurisdiction. Id.

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Accordingly, it could hardly be more clear that the instant challenge to the Board’s Section 10(k)

Decision is contrary to the statute and decades of precedent. And, as shown below, the

prohibition of district court review at this stage makes eminent sense. This is because the

propriety of the Section 10(k) Decision is ultimately reviewable as part of the unfair labor

practice proceeding that is currently being conducted to determine whether ILWU violated

Section 8(b)(4)(D) by engaging in conduct to force the reassignment of work in conflict with the

Board’s Section 10(k) Decision of that work to IBEW Local 8.

II.    PMA’s Reliance on the “Exceptional Circumstances” Doctrine of Leedom v. Kyne
       Fails to Supply Subject-Matter Jurisdiction

       The rule of Myers, which recognizes the primacy and exclusivity of the NLRA’s judicial

review procedures, is subject to very limited and rarely applied exceptions. PMA relies heavily

on the exception recognized by the Supreme Court in Leedom v. Kyne, 358 U.S. 184 (1958).

Pursuant to Leedom, district courts may exercise jurisdiction under 28 U.S.C. § 1337 “to strike

down an order of the Board,” id. at 188, only “‘[i]f the absence of jurisdiction of the federal

courts [would] mean[] a sacrifice or obliteration of a right which Congress has created,’” id. at

190 (quoting Switchmen’s Union v. Nat’l Mediation Bd., 320 U.S. 297, 300 (1943)). Thus, in

order to justify the exercise of Leedom jurisdiction, a plaintiff must satisfy a rigorous two-part

conjunctive requirement: the “plaintiff must show, first, that the agency has acted ‘in excess of

its delegated powers and contrary to a specific prohibition’ which ‘is clear and mandatory,’ and,

second, that barring review by the district court ‘would wholly deprive [the party] of a

meaningful and adequate means of vindicating its statutory rights.’” Nat’l Air Traffic

Controllers Ass’n v. Fed. Serv. Impasses Panel, 437 F.3d 1256, 1263 (D.C. Cir. 2006) (alteration




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in original) (citation omitted). Accord AMERCO v. NLRB, 458 F.3d 883, 888-90 (9th Cir.

2006).

         Time and again, the D.C. Circuit has emphasized how difficult it is for plaintiffs to

establish jurisdiction under Leedom. For example, in McCulloch v. Libbey-Owens-Ford Glass

Co., 403 F.2d 916, 917 n.2 (D.C. Cir. 1968), the D.C. Circuit explained that Leedom jurisdiction

arises only in “exceptional circumstances,” and in Hartz Mountain Corp. v. Dotson, 727 F.2d

1308, 1312 (D.C. Cir. 1984), the court of appeals noted that precedent “made it unmistakably

clear that the Kyne exception is extraordinarily narrow[].” In yet another case, the D.C. Circuit

praised the district court for “exhibit[ing] its awareness of the extreme circumspection with

which the Supreme Court and this court have approached any departure from the customary

channels of judicial examination of Board action.” Local 130, Int’l Union of Elec., Radio &

Mach. Workers v. McCulloch, 345 F.2d 90, 96 (D.C. Cir. 1965). Indeed, “[t]he federal courts

have consistently recognized the limits imposed by the Kyne decision.” Physicians Nat’l House

Staff Ass’n v. Fanning, 642 F.2d 492, 496 (D.C. Cir. 1980) (en banc); see also id. at 503

(dissenting opinion) (“This circuit, like the other lower courts, has been frugal in recognizing the

Kyne exception.”). Thus, when Leedom is invoked, courts must be “extremely chary of

involving themselves.” Int’l Bhd. of Teamsters v. Bhd. of Ry., Airline & S.S. Clerks, 402 F.2d

196, 205 (D.C. Cir. 1968).

         In this case, PMA has not and cannot show that Leedom supplies the Court with

jurisdiction to hear this case. To so decide, this Court need look no further than Leedom’s

requirement that the denial of review of the instant complaint must deprive a party of all means

to secure judicial review of its claim of statutory rights.



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       A. PMA Cannot Show It Has No Alternative Avenue of Judicial Review

       PMA already has an alternative, statutorily-provided avenue to secure judicial review of

the Board’s Section 10(k) Decision. A leading treatise on NLRB procedure explains:

       The Board’s decision [in a Section 10(k) proceeding] . . . is subject to court
       review. In cases where a Section 10(k) proceeding has been held and an unfair
       labor practice proceeding follows, the record in the Section 10(k) proceeding and
       the resulting determination of the Board become part of the unfair labor practice
       record and thus subject to examination by the court upon review [of the final
       Board order in the unfair labor practice proceeding].

How to Take a Case Before the NLRB at 641 (Brent Garren et al. eds., 7th ed. 2000) (footnote

omitted) (citing 29 C.F.R. § 102.92). As explained above, and as PMA acknowledges, there is

now pending before the NLRB a Section 8(b)(4)(D) unfair labor practice proceeding that

depends, in significant part, on the Board’s underlying Section 10(k) Decision that PMA seeks to

challenge here. Section 10(f) of the NLRA provides that upon the issuance of “a final order of

the Board granting or denying in whole or in part the relief sought” in that unfair labor practice

case, “any person aggrieved” by that order may obtain review in an appropriate court of appeals.

29 U.S.C. § 160(f). And, as shown, the Board’s Section 10(k) decision will then become

“subject to examination by the court.” How to Take a Case Before the NLRB at 641. See, e.g.,

NLRB v. ILWU, 378 F.2d 33, 34 (9th Cir. 1967).

       PMA does not show, as it must, how following this statutorily prescribed procedure will

deny it “‘a meaningful and adequate means of vindicating its statutory rights.’” Nat’l Air Traffic

Controllers Ass’n, 437 F.3d at 1263 (quoting Bd. of Governors of the Fed. Reserve Sys. v.

MCorp Fin., Inc., 502 U.S. 32, 43 (1991)). Certainly, it is not for lack of knowledge of this

process. In fact, PMA has previously followed this very procedure to obtain judicial review of

an adverse Section 10(k) determination. In ILWU Local 50, PMA successfully brought a petition


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for review to the Ninth Circuit of a final Board order in a Section 8(b)(4)(D) unfair labor practice

case that was premised on a Section 10(k) determination. There, the Court stated: “[b]ecause

the Board’s § 8(b)(4)(D)[] complaint is predicated upon its resolution of the work assignment

dispute in the § 10(k) hearing, the crucial question . . . is whether the Board’s § 10(k) award is

sustainable.” 504 F.2d at 1212. The Ninth Circuit ultimately agreed with PMA that the Board’s

Section 10(k) award in that case could not stand. Id. at 1222.

       Nor can PMA show that Section 10(f) review of the Section 8(b)(4)(D) unfair labor

practice case will not be available merely because PMA is not now a party to that administrative

proceeding. Initially, PMA has not explained why, to date, it has not attempted to intervene in

the Section 8(b)(4)(D) case. See Sec. 102.29 of Board’s Rules and Regulations, 29 C.F.R.

§ 102.29 (permitting motions to intervene to be filed with a Regional Director or administrative

law judge). It is true that the Board denied PMA’s request for intervention in the underlying

Section 10(k) case. 9 But it does not follow that the Board will automatically make the same

decision should PMA seek to intervene in the pending unfair labor practice proceeding.

Importantly, the Board can revisit and reconsider in the Section 8(b)(4)(D) proceeding issues it

decided in the underlying Section 10(k) decision. “The findings and conclusions in a § 10(k)

proceeding are not res judicata on the unfair labor practice issue in the later § 8(b)(4)(D)

determination.” Plasterers’ Local Union No. 79, 404 U.S. at 365 n.10; see also Warehouse

9
  More specifically, the hearing officer who conducted the Section 10(k) hearing denied PMA’s
motion to intervene “finding that PMA’s interests would be adequately represented by the
existing parties to the hearing.” Int’l Bhd. of Elec. Workers, Local 48, 358 N.L.R.B. No. 102, at
2 n. 4 (Aug. 13, 2012). PMA then filed with the Board a request for special permission to appeal
that ruling. The Board denied PMA’s request for a discretionary appeal because “the record and
the briefs . . . adequately present the issues before the Board and the positions of the parties.” Id.
Moreover, the Board noted that PMA sought to advance the “same claims as ILWU.” Id. After
the Board issued its Section 10(k) determination, PMA filed a motion for reconsideration, which
the Board denied.
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Union Local 6, ILWU (Golden Grain Macaroni, Co.), 289 NLRB 1, 2 (1988). Even if the Board

were to deny a new request by PMA to intervene in the pending Section 8(b)(4)(D) case, that

denial would be subject to judicial review at the conclusion of the unfair labor practice case. See

J.P. Stevens Employees Educ. Comm. v. NLRB, 582 F.2d at 329. 10

       In any event, assuming that it is genuinely aggrieved, PMA will have adequate alternative

recourse to the statutorily-provided Section 10(f) judicial review, even if PMA continues to be an

observer rather than a participant in the ongoing unfair labor practice case. Section 10(f) permits

“any person”—rather than “any party”—who is “aggrieved” by the Board’s final order to seek

judicial review in an appropriate circuit court. 29 U.S.C. § 160(f). To be “aggrieved” within the

meaning of Section 10(f), a litigant must demonstrate that the Board’s order has an “‘adverse

effect in fact.’” Oil, Chem. & Atomic Workers v. NLRB, 694 F.2d 1289, 1294 (D.C. Cir. 1982)

(quoting Retail Clerks Union 1059 v. NLRB, 348 F.2d 369, 370 (D.C. Cir. 1965)); see also

Brentwood at Hobart v. NLRB, 675 F.3d 999, 1005 (6th Cir. 2012) (parent company established

that Sixth Circuit was appropriate venue for petition for review of Board order, where parent

company was directly involved in operations of respondent nursing home, and was thus

“aggrieved”); Hamilton v. NLRB, 160 F.2d 465 (6th Cir. 1947) (deciding nonparty

discriminatee’s Section 10(f) petition for review of Board order partially dismissing unfair labor

practice complaint against respondent employer).

       If PMA has suffered injury from the Board’s Section 10(k) Decision as it claims (PMA

Mem., Dkt. 14-1, at 14), then it will be able to get Section 10(f) review in the Court of Appeals


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  For these reasons, there is no merit to PMA’s legal assertion (Complaint, Dkt. 1, ¶ 33;
Statement of Material Facts, Dkt. 14-2, ¶ 22), that PMA has “exhaust[ed] all administrative
review procedures available to PMA . . . .”

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should the Board affirm its Section 10(k) decision in the unfair labor practice proceeding. On

the other hand, if, in a subsequent petition for review, PMA cannot establish that it has been

aggrieved “under section 10(f)’s broad standard of aggrievement,” Oil, Chem. & Atomic

Workers, 694 F.2d at 1295, then it is highly doubtful that PMA even has standing to bring the

instant action, which similarly requires a plaintiff to demonstrate an “injury in fact.” Lujan v.

Defenders of Wildlife, 504 U.S. 555, 560-61 (1992).

       B. PMA Cannot Establish Leedom’s Requirement of a Clear Violation of a Statutory
          Provision

       In addition, PMA has not shown that this case satisfies Leedom’s additional

requirement—that is, a showing that the Board’s action constitutes a clear violation of the

statute. It is not enough for PMA to show that the Board was possibly wrong or even likely

wrong. 11 Physicians Nat’l House Staff Ass’n, 642 F.2d at 496 n. 4. (“[T]he mere possibility that

the decision being reviewed is erroneous is not sufficient to support jurisdiction.”). “The courts

have required . . . that the Board must have disregarded a specific and unambiguous directive

before its actions will fall within the Leedom v. Kyne exception.” United Food & Commercial

Workers, Local 400 v. NLRB, 694 F.2d 276, 278 (D.C. Cir. 1982); accord Libbey-Owens-Ford

Glass Co., 403 F.2d at 916 (“[T]he showing that the Board has violated the Act . . . must be

strong and clear.”); Lawrence Typographical Union v. McCulloch, 394 F.2d 704, 706 (D.C. Cir.

1966) (there must be “a violation by the Board of a clear, specific, and mandatory provision of

the Act”). In other words, PMA “must be able to identify a specific provision of the Act which

although it is ‘clear and mandatory’ has nevertheless been violated by the Board.” Physicians


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  Of course, the Board does not concede that it was wrong at all. But the burden is not on the
Board to show that its decision was right. Rather, PMA bears the heavy burden to establish the
clear invalidity of the Board’s action.
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Nat’l House Staff Ass’n, 642 F.2d at 496 (citation omitted); accord Univ. of Vt. v. Vermont, 748

F. Supp. 235, 239 (D. Vt. 1990) (“Kyne review was intended as an extraordinary procedure

reserved only for flagrant violations of the Act.”).

       PMA also cannot show that the Board has violated a “clear and mandatory” provision of

the Act. PMA argues that a jurisdictional dispute under Section 8(b)(4)(D) must be between two

separate groups of “employees,” as defined by Section 2(3) of the Act. The problem for PMA is

that the D.C. Circuit, sitting en banc, has previously rejected a challenger’s “attempt to find in

section 2(3) of the Act the clear statutory mandate required by Leedom v. Kyne. . . . That section

does not define the term employee nor does any other section of the Act.” Physicians Nat’l

House Staff Ass’n, 642 F.2d at 496; cf. E. Greyhound Lines v. Fusco, 323 F.2d 477 (6th Cir.

1963) (rejecting Leedom as a jurisdictional basis to review argument that “dispatchers were not

employees with the meaning of Section 2(3)”). 12

       In addition, the Board has historically adjudicated jurisdictional disputes at the Port of

Portland where, as PMA emphasizes here, the Port employed one group of employees. See, e.g.,

ILWU, Local 8 (Port of Portland), 233 N.L.R.B. 459 (1977) (Section 10(k) decision). Although

this does not demonstrate that either the Board is right or PMA is wrong, it does show that the


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  Indeed, in Physicians National House Staff Association, the D.C. Circuit affirmed this Court’s
dismissal of a suit complaining that the Board had patently misapplied Section 2(3) of the Act
when it concluded that hospital interns, residents, and clinical fellows are not “employees” under
the NLRA. The Court reasoned that it is for the Board to delineate that term as used in various
provisions of the NLRA. “The task of decision on the facts of each case is assigned to the
National Labor Relations Board and in making that decision the Board exercises its informed
discretion. . . . Everyday experience in the administration of the statute gives it familiarity with
the circumstances and backgrounds of employment relations in various industries, with the
abilities and needs of the workers for self-organization and collections action, and with the
adaptability of collective bargaining for the peaceful settlement of their disputes with their
employers. . . .” 642 F.2d at 497 (quoting NLRB v. Hearst Publications, Inc., 322 U.S. 111, 130
(1944)).
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Board has previously adhered to the view that such disputes are properly adjudicable in Section

10(k) proceedings, and it undercuts any argument that the Board’s action in this case is “anything

like the palpable disregard of the command of the statute” that is needed to sustain jurisdiction

under Leedom. Local 130, Int’l Union of Elec., Radio & Mach. Workers, 345 F.2d at 96.

        For these reasons, PMA cannot meet the daunting task under Leedom of showing a clear

violation of the Act. “It is at least less than clear that the [plaintiff’s] argument will ultimately be

accepted by the Supreme Court. A necessary condition of exemption from the exhaustion

requirement is therefore lacking.” Squillacote ex rel. NLRB v. Int’l Bhd. of Teamsters, Local

344, 561 F.2d 31, 40 (7th Cir. 1977).

III.    The Highly Charged International Circumstances that Existed in McCulloch v.
        Sociedad Nacional de Marineros de Honduras Are Simply Not Present in this Purely
        Domestic Labor Dispute

        In addition to relying on the extraordinary circumstances doctrine of Leedom, PMA also

attempts to establish jurisdiction under an even narrower—and equally inapplicable—exception

to the rule of Myers. Specifically, PMA relies on the Supreme Court’s decision in McCulloch v.

Sociedad Nacional de Marineros de Honduras, 372 U.S. 10 (1963) [hereinafter Marineros].

There, the Supreme Court held that a district court had jurisdiction to enjoin an NLRB-ordered

representation election involving foreign seamen, who were already represented by a foreign

union, on shipping vessels owned by a Honduran corporation.

        District court jurisdiction was sustained in Marineros because resolution of the

underlying labor controversy by the NLRB might have fomented “international discord.” Id. at

21. The reach of the Marineros exception is therefore limited to those extremely rare occasions

where “the Board’s assertion of jurisdiction would cause disturbances and embarrassment in

international relations.” Goethe House N.Y., German Cultural Ctr. v. NLRB, 869 F.2d 75, 77 (2d

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Cir. 1989). PMA misreads Marineros as conferring district court jurisdiction whenever a Board

ruling has an impact on “foreign commerce.” (PMA Mem., Dkt. 14-1, at 28.) But, as the D.C.

Circuit has explained, Marineros is actually much narrower; it applies only when a Board ruling

threatens to harm “foreign relations.” Hartz Mountain Corp. 727 F.2d at 1311 (emphasis in

original); accord United Food & Commercial Workers, Local 400, 694 F.2d at 278. Here, the

key players in this labor dispute—ICTSI, the Port of Portland, the two labor unions, and even

PMA—are all domestic entities with interests that occupy a substantively different position than

those of the Republic of Honduras in Marineros. There is no plausible claim that the Board’s

Section 10(k) Decision might damage international relations. Accordingly, PMA’s attempt to

establish district court jurisdiction under Marineros must fail.

                                         CONCLUSION

       “We emphasize that neither the National Labor Relations Act itself, nor any authoritative

legislative history, nor Leedom v. Kyne, supra, nor any other Supreme Court decision, either

commands or authorizes the delay inherent in District Court review of interlocutory orders of the

Board or its agents.” Blue Cross & Blue Shield of Mich. v. NLRB, 609 F.2d 240, 244 (6th Cir.

1979). These apt words apply with equal force here. PMA has failed to establish that this Court

has subject-matter jurisdiction over its claim. Therefore, the Court must deny PMA’s Motion for

Summary Judgment and dismiss this case under Federal Rule of Civil Procedure 12(b)(1).

                                              Respectfully submitted,

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